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   3 Santa Rosa, CA 95404
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   4
     Attorneys for Debtors
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   8                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF CALIFORNIA
   9
        IN RE:                                      CASE No. 17-10828 WJL
  10
        FLOYD E. SQUIRES, III and                   CHAPTER 11
  11    BETTY J. SQUIRES,
                                                    SUPPLEMENTAL DECLARATION OF FLOYD
  12          Debtors.                        /     SQUIRES IN RESPONSE TO MEMORANDUM
                                                    REGARDING REVISED BUDGET
  13
                                                    Date:   December 21, 2017
                                                    Time:   10:00 a.m.
  14
                                                    Place: 99 S. E Street
                                                            Santa Rosa, CA 95404
  15

  16         I, Floyd Squires, declare and say:

  17         1.     That if called as a witness, I am competent to testify to

  18 the within matters from my own knowledge.

  19         2.     Exhibit D hereto, attached to my initial Declaration in

  20 support of Motion for Use of Cash Collateral, as Exhibit D, is a

  21 true and correct list of the scheduled income from the subject

  22 properties.

  23         3.     I was directed through counsel to revise the proposed

  24 budget to not reflect the taxes and to refine some other specific

  25 line items after meeting and conferring with Larry Kluck, counsel

  26 for Adams, and Jared Day, trial attorney for the U.S. Trustee.

  27         4.     Mr. Chandler arranged a telephone conference with Mr.

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   1 Kluck, Mr. Day and with me.              In the conference, it was discussed

   2 that a revised budget would be submitted containing specified

   3 agreed line items for each property. We agreed that line items for

   4 payments to secured creditors should be included.

   5        5.      During the conference, Mr. Chandler attempted to obtain

   6 consensus regarding expenses of administrating the rentals, i.e.,

   7 collection of rents, responses to tenants, interfacing with the

   8 receiver, and such matters.               The discussion was not progressing

   9 towards agreement.          Mr. Chandler then suggested a management fee.

  10        6.      Aware of Mr. Kluck’s background as a real estate broker,

  11 he was asked what a standard management fee percentage would be in

  12 Eureka.      Mr. Kluck responded that the standard is 15% but that he

  13 would not pay that much.           Then he was asked if we could get someone

  14 to manage these 27 properties at 15%.               Mr. Kluck responded that it

  15 would cost much more than that due to the nature of the properties

  16 and    the    socio-ecomomics       of    the   tenants.       Mr.    Chandler       then

  17 suggested that perhaps 15% was reasonable, Mr. Kluck agreed that it

  18 was and that he would agree not to disagree on the point.

  19        7.      The initial proposed revised budget contained certain

  20 necessary expenses of the owners on a line item basis.                    My wife and

  21 I expend the majority of our time working on tenant and property

  22 issues.       Discussion of line items was not leading to anything

  23 productive, so Mr. Chandler suggested a flat monthly draw to enable

  24 the Debtors to maintain their health insurance, utilities, vehicles

  25 and insurance expenses.           Mr. Chandler floated a figure for a draw

  26 to cover those expenses and Mr. Kluck again responded that he would

  27 agree not to disagree concerning the draw.

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   1        8.      Mr. Day contributed his opinions and suggestions during

   2 the conference and concurred that by grouping the line items we got

   3 as close to consensus as was possible.

   4        9.      Attached    hereto        as   Exhibit   F   is   the    Revised       Cash

   5 Collateral Budget which is a budget of the expenses that we would

   6 like to pay with the income as set forth in Exhibit D.

   7        10.     The secured creditors will each be paid each month on

   8 their secured claims as depicted in Exhibit F.

   9        11.     Mr. Kluck did not agree to the payment of $1,500.00 per

  10 month set forth in the budget.                Mr. Chandler proposed the $1,500

  11 payment and asked for a counter proposal by way of monthly payment.

  12 Mr. Kluck stated that his client insisted on payment of the entire

  13 sum of $158,000 by Friday, December 22, 2017.

  14        Executed under penalty of perjury this 20th day of December,

  15 2017 at Eureka, California.

  16                                                       /s/Floyd Squires
                                                      Floyd Squires, Debtor
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